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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                NORFOLK DIVISION

W. GREG VOGEL,

       Plaintiff,

v.                                                             2:18cv361
                                                    CASE NO.: _____________

CITY OF VIRGINIA BEACH,

               Defendant.

SERVE: Mark D. Stiles, Esq.
       Virginia Beach City Attorney
       City of Virginia Beach
       2401 Courthouse Drive
       Virginia Beach, VA 23456

                                         COMPLAINT

       COMES NOW, W. Greg Vogel (“Plaintiff”), by counsel, and respectfully moves this

Honorable Court for a judgment declaring the rights of the Plaintiff against, by and between the

Defendant City of Virginia Beach (“Defendant”), pursuant to 28 U.S.C. § 2201 with the cost of

this action and attorneys’ fees.

                                           PARTIES

       1.      The Plaintiff is a firefighter employed by the City of Virginia Beach holding the

rank of Master Firefighter/Paramedic, having served nearly thirteen years as a member and

employee of the Virginia Beach Fire Department. He has served with the National Urban Search

and Rescue Response System since 2008 as will be set forth in further detail below.

       2.      The City of Virginia Beach is a municipal corporation, a political subdivision of

the Commonwealth of Virginia which maintains a Fire Department as part of its operations and

the Plaintiff is employed as a member of such department.



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                                 JURISDICTION AND VENUE

       3.      This action arises out of an actual controversy between the Plaintiff, and similarly

situated individuals, and the Defendant regarding the compensation Plaintiff is entitled to receive

in accordance with 44 C.F.R. Part 208, and the extent of monetary reimbursement the Defendant

is entitled to receive from the Federal Emergency Management Agency (“FEMA”) for payment

made to the Plaintiff while the Plaintiff is deployed or activated as a System Member with the

National Urban Search and Rescue Response System.

       4.      This action presents a federal question pursuant to 28 U.S. Code § 1331 inasmuch

as federal law and regulations specifically, 44 C.F.R. Part 208 create a cause of action and the

court is requested herein to enter judgment regarding the respective rights and responsibilities of

the parties as the result of an actual controversy as set forth below.


       5.      28 U.S. Code § 2201specifically empowers the Court to declare the rights and

legal relations of the interested parties in this case in light of the actual case and controversy

presented as the result of the interpretation of 44 C.F.R. Part 208 and related sections by

Defendant by City of Virginia in relation to the Plaintiff and other similarly situated members in

connection with the Joint Task Force as a System member with the National Urban Search and

Rescue Response System.


       6.      As set forth below, the City of Virginia Beach, acting through its Fire

Department, has acted in violation of the intent and purpose of the above 44 C.F.R. Part 208 in

its treatment of and compensation of the Plaintiff and others similarly situated and the Court is

asked pursuant to its well stated power as set forth in 28 U.S. Code § 2201 and 28 U.S. Code

§1331 to declare the rights and responsibilities of the respective parties in a circumstance of

actual controversy.

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                                     COUNT I
                         REQUEST FOR DECLARATORY RELIEF


       7.      On December 18, 2002, the Federal Emergency Management Agency (“FEMA”)

published the National Urban Search and Rescue Response System. On March 1, 2003, FEMA

became a part of the Emergency Preparedness and Response Directorate (“EP&R”), Department

of Homeland Security (“DHS”). The National Urban Search and Rescue Response System then

became a program in FEMA under the EP&R Directorate.


       8.      On February 24, 2005, FEMA introduced 44 C.F.R. Part 208 as an interim rule

intended to standardize the financing, administration, and operation of the National Urban Search

and Rescue Response System (“the System”). National Urban Search and Rescue Response

System, 70 Fed. Reg. 36 (Feb. 24, 2005) (codified at 44 C.F.R. pt. 208).


       9.      At all times relevant herein, 44 C.F.R. Part 208 governed, and continues to

govern, the rights, duties, and responsibilities of the Defendant as it pertains to reimbursement

for compensation to System Members, including but not limited to the Plaintiff, when deployed

or activated with the System.


       10.     The System was created in consultation with State emergency management

agencies and local public safety agencies, and around a core of Sponsoring Agencies prepared to

deploy US&R Task Forces immediately and initiate US&R operations at DHS’s direction.


       11.     Task Forces are staffed primarily by local fire department and emergency services

personnel specially trained and experienced in collapsed structure search and rescue operations,

incident management, and other emergency operation activities.




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       12.     To avoid burdening local fire departments with the cost of providing emergency

services outside of their respective jurisdictions, Sponsoring Agencies are compensated for

personnel costs during Activations. 44 C.F.R. § 208.39 (2018).


       13.     At all times relevant herein, the Defendant, by and through the Virginia Beach

Fire Department, has been a Sponsoring Agency.


       14.     The purpose of the National Urban Search and Rescue Response System is to

provide specialized lifesaving assistance during major disasters or emergencies that the President

declares under the Stafford Act.

       15.     Upon activation by DHS, System Members operate as Temporary Excepted

Federal Volunteers. This means that a System Member’s status is temporary for the period of

federal activation, excepted from civil service rules regarding Federal employment, Federal for

purposes of tort claim protection and Federal workers compensation, and a volunteer in that DHS

does not pay the individual System Members directly, but instead, DHS reimburses the

Sponsoring Agency for the System Member’s services.


       16.     In the event that a Sponsoring Agency’s System Member is activated for Federal

deployment, the Sponsoring Agency or Participating Agency shall seek reimbursement for

personnel costs during Activations from DHS by submitting a reimbursement claim after the

Sponsoring Agency compensates the System Member. This is intended to prevent a break in a

System Member’s pay, service, and, consequently, benefits associated with his continued status

as an employee of the Sponsoring Agency.




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       17.     To maintain the existing employment relationship between a System Member and

a Sponsoring Agency, the System Member shall receive “Base Pay” 1 from the Sponsoring

Agency or Participating Agency, which amounts to the same pay or benefits the System Member

would have received if he was not Activated, as stated and instructed by DHS: “While on

Federal deployment, these System Members receive pay and benefits from their usual employers

during the Federal deployment just as they would if they were not Activated.” National Urban

Search and Rescue Response System, 70 Fed. Reg. 36, 9184 (Feb. 24, 2005) (codified at 44

C.F.R. pt. 208).


       18.     FEMA and DHS intended to create a concurrent employment relationship

between the Sponsoring Agencies or Participating Agencies and the System. “The maintenance

of this concurrent employment relationship is a fundamental principle of the National US&R

Response System, and dates from the inception of the System.” National Urban Search and

Rescue Response System, 70 Fed. Reg. 36, 9184 (Feb. 24, 2005) (codified at 44 C.F.R. pt. 208).

       19.     Therefore, in accordance with FEMA’s interpretation of 44 C.F.R. § 208.39,

“System Members who are regularly employed by a Sponsoring Agency or Participating Agency

retain their concurrent employment relationship with their usual employers.” National Urban

Search and Rescue Response System, 70 Fed. Reg. 36, 9184 (Feb. 24, 2005) (codified at 44

C.F.R. pt. 208).


       20.     The System’s rules for compensation of System Members, and associated

reimbursement to Sponsoring Agencies 2 and Participating Agencies, is intended to incentivize


1
  Base Pay is the pay a System Member would receive for a given week or pay period if he or
she was not Activated for Federal deployment under the System.
2
  Sponsoring Agencies are State or local government agencies that have signed Memoranda of
Agreement with DHS to organize and manage US&R.
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cooperation and participation with the System, in an effort to maximize the resources available to

FEMA in the event of a major disaster or emergency that the President declares under the

Stafford Act.


       21.      DHS reimburses Sponsoring Agencies, including the Defendant, by and through

the Virginia Beach Fire Department, for 24 hours of pay for each day that a System Member is

deployed, beginning from the moment the System Member arrives at the Point of Assembly, 3 or

some other designated point, until his or her release from duty. Release from duty may be at the

airport or Air Force Base to which the Task Force returns, or some other point. This

reimbursement procedure is known as “portal to portal” pay.

       22.      Portal to portal pay for regular wages and overtime wages requires that System

Members receive compensation for their regular hourly wage for the first forty hours, and one

and one-half times the hourly wage for every hour of Activation after the first forty hours. A

System Member’s regular hourly wage is calculated by converting the System Member’s normal

and customary hourly wage to an hourly wage that aligns with a forty hour work week. 4

       23.      DHS instructs the Sponsoring Agencies, including the Defendant, by and through

the Virginia Beach Fire Department, to claim reimbursement for regular wages and overtime

wages as described in 44 C.F.R. § 208.38(d), (e), and (f). This instruction is not intended to

create a windfall for Sponsoring Agencies because an agency cannot charge DHS for personnel

costs in excess of those that they actually and normally incur.




3
  The Point of Assembly is the location where a Task Force assembles before departure in
response to an activation order.
4
  For example, the Plaintiff’s normal and customary rate of pay is based upon a fifty-six hour
work week. This fifty-six hour rate of pay is converted to a forty hour work week to determine
his regular hourly rate of pay when Activated.
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       24.     To prevent an additional cost burden on the Sponsoring Agencies or Participating

Agencies for paying for a System Member’s Base Pay while on deployment, 44 C.F.R. §

208.39(g) provides for the additional reimbursement of Backfill 5 expenses.

       25.     If a public safety agency ordinarily Backfills a position in situations where a

regular employee is unavailable, the public safety agency may bill DHS for the cost of

Backfilling the position for the period that the regular employee is away on a Federal

deployment.

       26.     At all times relevant herein, the Plaintiff, as an employee of the City of Virginia

Beach by and through the Virginia Beach Fire Department, and a Temporary Excepted Federal

Volunteer within the System, held two separate positions entitling the Plaintiffs to pay for each

position upon activation to the System.

       27.     The System’s compensation calculation rules are guided by two fundamental

principles: (1) Cost neutrality; and (2) Customary and usual practice. The rules provide for

reimbursement to the Sponsoring Agency for the amount that the individual System Member

would have customarily and usually received (i.e. Base Pay), as well as the regular wages and

overtime wages.

       28.     Beginning in 1993, employees of the Defendant, by and through the Virginia

Beach Fire Department, were informed of an opportunity to join the System as Task Force

System Members. Prior to their involvement in the System, employees of the Virginia Beach

Fire Department were required to interview with existing Task Force System Members. Those

selected to participate in the System completed an internal employment application that

considered the potential System Member’s certifications, resume, and required the approval of

5
 Backfill means the personnel practice of temporarily replacing a person in his or her usual
position with another person.
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the potential System Member’s chain of command. An employment application which was

separate and distinct from their employment application with the City of Virginia Beach or the

Virginia Beach Fire Department, which included pages titled “Optional Application for Federal

Employment,” “Declaration for Federal Employment,” and “Urban Search and Rescue Task

Force Employee Transmittal Sheet” was then submitted to FEMA.

       29.     At all times relevant herein, Plaintiff, as an employee of the Defendant, by and

through the Virginia Beach Fire Department, received regular pay at a fifty-six hour per week

rate, as well as any additional overtime wages. Plaintiff’s regular pay for the first fifty-six hours

worked while “at home” equals his customary and normal Base Pay.

       30.     At all times relevant herein, the Plaintiff participated as a System Member of

these Task Forces.

       31.     At all times relevant herein, the Plaintiff, when activated by the System and on

deployment with a Task Force, should receive Base Pay, regular wages and overtime wages from

the Defendant, by and through Virginia Beach Fire Department, which the Defendant, by and

through the Virginia Beach Fire Department, may later claim as a reimbursement from DHS.

       32.     From 2006 to 2011, the Defendant, by and through the Virginia Beach Fire

Department, appropriately began converting the Plaintiff’s 56 hour per week hourly rate to 40

hours per week. However, the Virginia Beach Fire Department calculated the Plaintiffs

compensation based upon a Monday through Friday, 8:00 am to 4:00 pm work schedule, while

deployed with the System, which is contrary to the requirement that the System Members receive

compensation for every hour of Activation. 6 Additionally, the Defendant did not compensate the

Plaintiff for the 40 hours of activation from 8:00 am to 4:00 pm, claiming this pay was a “wash”

6
 Once deployed, all System Members must be available for immediate response twenty-four
hours a day during the entire deployment period.
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due to the Plaintiff’s employment with the Defendant. This resulted in the Plaintiff only

receiving overtime compensation while on deployment. The Plaintiff’s total deployment

compensation was reduced due to the Defendant’s improper calculation of Base Pay, straight

time hours, and overtime hours.

       33.     In 2015, the Plaintiff was deployed for 192 hours in response to Hurricane

Joaquin. While on deployment, the Defendant, by and through the Virginia Beach Fire

Department, properly converted the Plaintiff from a 56 hour per week rate of pay to a 40 hour

per week rate of pay, however the Defendant withheld compensation for the Plaintiff’s first forty

hours of straight time deployment, and ultimately only compensated the Plaintiff for 128 hours

of overtime deployment. This resulted in the Plaintiff receiving pay for 128 hours of his 192

hours of deployment. The Plaintiff brought this disparity to the Defendant’s attention, and the

Defendant ultimately compensated the Plaintiff for an additional 24 hours of deployment

(bringing his total hours of compensation to 152 hours), but the Defendant continued to refuse to

pay the Plaintiff’s for his first 40 hours of deployment. The Defendant justified its position by

stating the first 40 hours of deployment amounted to a “wash.”

       34.     Upon information and belief, in 2016, the Defendant implemented an internal

FEMA Pay Policy, which memorialized the Defendant’s position to calculate the Plaintiff’s

deployment compensation, and other similarly situated individuals, based upon a seven day

calendar reset. This resulted in the improper calculation of straight time hours and overtime

hours while on deployment.

       35.     In 2017, the Defendant began calculating reimbursements from the DHS by

converting the Plaintiffs’ at home 56 hour per week rate of pay to a 40 hour per week rate of pay

and calculating the hours of pay pursuant to the portal to portal requirement, which requires that



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 the Plaintiffs be compensated for every hour of deployment from their arrival to a Point of

 Assembly until their departure from the Point of Assembly. The Defendant implemented its

 FEMA Pay Policy which improperly calculated the Plaintiff’s work week based upon a seven

 day calendar, rather than the 168 hour requirement pursuant to the System. The Defendant

 corrected its calculation only after the Plaintiff confronted the Defendant with its inaccuracies.

 This resulted in the Defendant properly calculating the Plaintiff’s activation hours and

 compensation for those hours, however, the Defendant continued the practice of deducting the

 Plaintiff’s Base Pay from the Plaintiffs total wages earned while deployed with the System. This

 deduction appeared as a line item deduction on the Plaintiff’s pay stub, and resulted in the

 Plaintiff not receiving pay or compensation for his regular employment with the Defendant for

 the time of deployment.

        36.     This practice of deduction is contrary to the guidelines, rules, and intentions as

 established by 44 C.F.R. Part 208. Beyond the injustice of wrongfully withholding pay from an

 individual, by withholding the Plaintiff’s Base Pay, the Defendant jeopardizes the Plaintiff’s

 benefits of employment, which 44 C.F.R. Part 208 explicitly aimed to prevent by establishing a

 concurrent employment relationship to “prevent System Members from suffering a break in their

 service to the usual employer while away on Federal deployment.” National Urban Search and

 Rescue Response System, 70 Fed. Reg. 36, 9184 (Feb. 24, 2005) (codified at 44 C.F.R. pt. 208).

        37.     The concurrent nature of employment between the Defendant and the System

 entitles the Plaintiff to Base Pay, plus an amount equal to his converted hourly wage for the first

 forty hours of straight time while activated, plus his converted hourly overtime wage multiplied

 by the number of hours spent activated with FEMA until the activation ends.




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        38.     The Defendant may choose whether or not to seek full reimbursement for its

 personnel costs during a Federal deployment activation period, but the Plaintiff’s pay or

 compensation shall not be affected, deducted, reduced, or compromised by the Defendant’s

 decision to properly or improperly seek reimbursement.

        39.     The Plaintiff informed the Defendant of the improper nature of the deductions

 from his pay, but the Defendant refused to change its practices. The Plaintiff subsequently

 informed the Defendant that neighboring Participating Agencies currently seek and receive

 reimbursement in the form that is being sought by this Action. These neighboring Participating

 Agencies include, but are not limited to, the City of Williamsburg, James City County, the City

 of Newport News, and the City of Portsmouth. Despite this information, the Defendant refused

 to change its practices, and continues to withhold pay to which the Plaintiff is entitled to.

        40.     By continuing to withhold, deduct, and/or reduce the Plaintiff’s pay after his

 deployment with the System, the Defendant is effectively punishing the Plaintiff for his

 participating in a function of society that benefits those individuals and localities that need his

 help the most. This deduction and/or withholding of pay runs afoul of the clear intentions of the

 Department of Homeland Security and FEMA to encourage individual participation by

 incentivizing the involvement in the System, without burdening localities, such as the Defendant,

 with the burden of the costs associated with a System Member’s involvement. National Urban

 Search and Rescue Response System, 70 Fed. Reg. 36, 9184 (Feb. 24, 2005) (codified at 44

 C.F.R. pt. 208).




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                                      PRAYER FOR RELIEF


        WHEREFORE, Plaintiff moves this Court for a judgment declaring Plaintiff’s right, as

 enumerated by 44 C.F.R. Part 208, to pay for his service with the System, separate and apart

 from his pay for his regular employment with the Defendant, which is to be paid by the

 Defendant, whom shall be reimbursed for such personnel costs pursuant to 44 C.F.R. Part 208,

 with the cost of this action and attorneys’ fees.

                                        W. GREG VOGEL


                                        By:___/s/ Michael F. Imprevento
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